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Richard Alan Arnold, Esquire

William J. Blechman, Esquire

Kevin J. Murray, Esquire

James Almon, Esquire

Ryan C, Zagare, Esquire

Jalaine Garcia, Esquire

KENNY NACHWALTER, P.A.

201 S. Biscayne Boulevard

Suite 1100

Miami, Florida 33131

Tel: (305) 373-1000

Fax: (305) 372-1861

E-mail: rarnold@knpa.com
wblechman@knpa.com
kmurray@knpa.com
jalmon@knpa.com
rzagare@knpa.com

Counsel for Plaintiff Sears Roebuck and Co.

and Kmart Corp.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates to:

ALL CASES

No. 07-cv-5944-SC
MDL No. 1917

Judge: Hon. Samuel Conti
Special Master: Hon. Charles A. Legge (Ret.)

APPLICATION FOR ADMISSION OF
ATTORNEY PRO HAC VICE

Pursuant to Civil L.R. 11-3, Kevin J. Murray, an active member in good standing of the bar of the

State of Florida, hereby applies for admission to practice in the Northern District of California on a pro

hac vice basis representing Sears Roebuck and Co. and Kmart Corp. in the above-entitled action.

In support of this application, | certify on oath that:

1. I am an active member in good standing of a United States Court or of the highest court

of another State or District of Columbia, as indicated above;

APPLICATION FOR ADMISSION
ATTORNEY PRO HAC VICE

CASE NO: 07-5944-SC
MDL No. 1917

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448433.1

Tel:
Fax:

Local Rules and the Alternative Dispute Resolution programs of this Court; and

The name, address and telephone number of that attorney is:

Gavin D. Whitis, Esquire (184133)
Pond North LLP

100 Spear Street

Suite 1200

San Francisco, CA 94105

(415) 217-1240

(415) 644-0578

E-mail: gwhitis@pondnorth.com

DATED: February 11, 2013

I declare under penalty of perjury that the foregoing is true and correct.

fin

2 I agree to abide by the Standards of Professional Conduct set forth in Civil Local Rule

11-4, to comply with General Order No. 45, Electronic Case Filing, and to become familiar with the

3. An attorney who is a member of the bar of this Court in good standing and who maintains

an office within the State of California has been designated as co-counsel in the above-entitled action.

—_

Kevin J. Murray

KENNY NACHWALTER, P.A.
201 S. Biscayne Boulevard
Suite 1100

Miami, Florida 33131

Tel: (305) 373-1000

Fax: (305) 372-1861
E-mail: kmurray@knpa.com

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